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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE

 RICHARD LAWRENCE,                             )
                                               )
                       Plaintiff,              )    Case No. 1:21-cv-00808-MN
                                               )
                                               )
        v.                                     )
                                               )
 COHERENT, INC., JAY T. FLATLEY,               )    JURY TRIAL DEMANDED
                                               )
 PAMELA FLETCHER, ANDREAS W.                   )
 MATTES, BEVERLY KAY                           )
 MATTHEWS, MICHAEL R.                          )
 MCMULLEN, GARRY W. ROGERSON,                  )
 STEVE SKAGGS, and SANDEEP VIJ,                )
                                               )
                       Defendants.             )
                                               )

                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: July 8, 2021                                  LONG LAW, LLC

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